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     Counterclaimant SWISSDIGITAL USA
  11 CO., LTD
  12                                UNITED STATES DISTRICT COURT
  13            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  14
  15 TARGUS INTERNATIONAL LLC., a                           Case No. 8:20-cv-00782-JLS-DFMx
     Delaware limited liability company,
  16                                                        DEFENDANT SWISSDIGITAL USA
                 Plaintiff,                                 CO., LTD’S ANSWER AND
  17                                                        COUNTERCLAIM TO PLAINTIFF
          v.                                                TARGUS INTERNATIONAL LLC’S
  18                                                        COMPLAINT FOR PATENT
     SWISSDIGITAL USA CO., LTD.,                            INFRINGEMENT
  19
                 Defendant.                                 JURY TRIAL DEMANDED
  20
                                                            The Hon. Josephine L. Stanton
  21
       SWISSDIGITAL USA CO., LTD                            Trial Date:         None Set
  22
                            Counterclaimaints,
  23
                    v.
  24
     TARGUS INTERNATIONAL, LLC., a
  25 Delaware limited liability company.,
  26             Counterdefendant.
  27
  28

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   1                Defendant Swissdigital USA Co., Ltd. (“Swissdigital” or “Defendant”), by its
   2 counsel, hereby answers the allegations set forth in Plaintiff Targus International LLC
   3 (“Targus” or “Plaintiff”)’s Complaint as follows:
   4
   5                                            I. THE PARTIES1
   6                1.      Swissdigital is without sufficient knowledge or information to form a
   7 belief as to the truth of the allegations set forth in Paragraph 1 of Plaintiff’s Complaint,
   8 and therefore denies them.
   9                2.      Swissdigital denies the allegations set forth in Paragraph 2 of Plaintiff’s
  10 Complaint.
  11
  12                                   II. JURISDICTION AND VENUE
  13                3.      Swissdigital admits that Plaintiff’s Complaint purports to set forth an
  14 action for infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et
  15 seq.
  16                4.      Swissdigital admits that this Court has subject matter jurisdiction over
  17 this action pursuant to 28 U.S.C. §§ 1331 and 1338(a). Swissdigital denies it has
  18 committed or is committing acts of infringement.
  19                5.      Swissdigital does not contest whether personal jurisdiction over it
  20 properly lies in this District in this case, or that it conducts business in the State of
  21 California. Swissdigital denies the remaining allegations set forth in Paragraph 5,
  22 including that it provides, sells, and offers to sell infringing products in this District
  23 or elsewhere, and that it commits, and continues to commit, acts of patent
  24 infringement in this District, State, or elsewhere.
  25                6.      The allegations set forth in Paragraph 6 of Plaintiff’s Complaint state a
  26 legal conclusion to which no response is required. To the extent that a response is
  27
  28   1
           For convenience, certain section headings used by Plaintiff in its complaint are repeated herein.
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   1 required, Swissdigital denies the allegations set forth in Paragraph 6, including that it
   2 has committed acts of infringement in this District or elsewhere.
   3
   4                                     III. FACTUAL BACKGROUND
   5                7.       Swissdigital is without sufficient knowledge or information to form a
   6 belief as to the truth of the allegations set forth in Paragraph 7 of Plaintiff’s Complaint,
   7 and therefore denies them.
   8                8.       Swissdigital is without sufficient knowledge or information to form a
   9 belief as to the truth of the allegations set forth in Paragraph 8 of Plaintiff’s Complaint,
  10 and therefore denies them.
  11                9.       The allegations set forth in Paragraph 9 of Plaintiff’s Complaint state a
  12 legal conclusion to which no response is required. To the extent that a response is
  13 required, Swissdigital denies the allegations set forth in Paragraph 9.
  14                10.      Swissdigital denies the allegations set forth in Paragraph 10 of Plaintiff’s
  15 Complaint.
  16                11.      Swissdigital denies the allegations set forth in Paragraph 11 of Plaintiff’s
  17 Complaint.
  18                12.      Swissdigital denies the allegations set forth in Paragraph 12 of Plaintiff’s
  19 Complaint.
  20 `              13.      Swissdigital denies the allegations set forth in Paragraph 13 of Plaintiff’s
  21 Complaint.
  22                14.      Swissdigital denies the allegations set forth in Paragraph 14 of Plaintiff’s
  23 Complaint.
  24                15.      Swissdigital denies the allegations set forth in Paragraph 15 of Plaintiff’s
  25 Complaint.
  26                16.      Swissdigital admits that it sent Targus a message on April 22, 2020.
  27 Swissdigital denies the remaining allegations set forth in Paragraph 16 of Plaintiff’s
  28 Complaint.

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   1                17.      Swissdigital denies the allegations set forth in Paragraph 17 of Plaintiff’s
   2 Complaint.
   3
   4                                     IV. FIRST CAUSE OF ACTION
   5                18.      Swissdigital repeats and realleges its answers as set forth in Paragraphs
   6 1 through 17, above, as though fully set forth herein.
   7                19.      Swissdigital denies the allegations set forth in Paragraph 19 of Plaintiff’s
   8 Complaint.
   9                20.      Swissdigital denies the allegations set forth in Paragraph 20 of Plaintiff’s
  10 Complaint.
  11                21.      Swissdigital denies the allegations set forth in Paragraph 21 of Plaintiff’s
  12 Complaint.
  13                22.      Swissdigital denies the allegations set forth in Paragraph 22 of Plaintiff’s
  14 Complaint.
  15                23.      Swissdigital denies the allegations set forth in Paragraph 23 of Plaintiff’s
  16 Complaint.
  17                24.      Swissdigital denies the allegations set forth in Paragraph 24 of Plaintiff’s
  18 Complaint.
  19
  20                                        V. PRAYER FOR RELIEF
  21                         Swissdigital denies that Plaintiff is entitled to any of the relief sought in
  22 its Prayer for Relief, including the relief sought in Paragraphs A through F, and/or
  23 any other relief.
  24
  25                                     VI. AFFIRMATIVE DEFENSES
  26                25.      Swissdigital reserves all affirmative defenses under Rule 8(c) of the
  27 Federal Rules of Civil Procedure and any other defense at law or at equity that may
  28 now exist or in the future be available based on discovery and further factual

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   1 investigation in this case, whether or not expressly stated herein. Without any
   2 admissions as to the burden of proof, burden of persuasion, or the truth of any
   3 allegations in Plaintiff’s Complaint, Swissdigital states the following defenses:
   4
   5                                    FIRST AFFIRMATIVE DEFENSE
   6                26.      The allegations set forth in Plaintiff’s Complaint fail to state a claim for
   7 which relief can be granted.
   8
   9                                  SECOND AFFIRMATIVE DEFENSE
  10                27.      The allegations set forth in Plaintiff’s Complaint should be dismissed for
  11 lack of standing.
  12
  13                                   THIRD AFFIRMATIVE DEFENSE
  14                28.      Swissdigital has not infringed and is not infringing, either literally or
  15 under the doctrine of equivalents, any valid claim of U.S. Patent No. 8,567,578 (“the
  16 ‘578 Patent”). Swissdigital has not induced and is not inducing infringement of any
  17 valid and enforceable claim of the ‘578 Patent.
  18
  19                                  FOURTH AFFIRMATIVE DEFENSE
  20                29.      The asserted claims of the ‘578 Patent are invalid for failure to comply
  21 with the requirements of Title 35 of the United States Code, including, without
  22 limitation, 35 U.S.C. §§ 102, 103, and/or 112.
  23
  24                                    FIFTH AFFIRMATIVE DEFENSE
  25                30.      Plaintiff is not entitled to injunctive relief because any injury to Plaintiff
  26 is not immediate or irreparable, because any such injunction would be against the
  27 public interest, and because Plaintiff has an adequate remedy at law.
  28

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   1                                    SIXTH AFFIRMATIVE DEFENSE
   2                31.      Swissdigital has not intentionally, willfully, or deliberately infringed any
   3 valid claim of the ‘578 Patent.
   4
   5                                 SEVENTH AFFIRMATIVE DEFENSE
   6                32.      Plaintiff’s case is not exceptional under 35 U.S.C. § 285.
   7
   8                                  EIGHTH AFFIRMATIVE DEFENSE
   9                33.      Plaintiff’s infringement claims against Swissdigital regarding the ‘578
  10 Patent are barred and the ‘578 Patent is unenforceable against Swissdigital under the
  11 equitable doctrines of laches, waiver, estoppel, and/or acquiescence.
  12
  13                                   NINTH AFFIRMATIVE DEFENSE
  14                34.      Plaintiff’s claims for relief are barred, in whole or in part, by the doctrine
  15 of prosecution history estoppel and/or prosecution disclaimer at least due to
  16 statements, representations, and admissions made to the U.S. Patent and Trademark
  17 Office during the prosecution of the application that matured into the ‘578 Patent and
  18 reexamination proceedings.
  19
  20                            RESERVATION OF ADDITIONAL DEFENSES
  21                35.      Swissdigital hereby reserves the right to assert additional defenses and/or
  22 counterclaims if such defenses or counterclaims are discovered during the course of
  23 this litigation.
  24                                       DEMAND FOR JURY TRIAL
  25                36.      Swissdigital demands a trial by jury on all issues so triable.
  26 ///
  27 ///
  28 ///

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   1                                 SWISSDIGITAL’S COUNTERCLAIMS
   2                For its counterclaims against Plaintiff Targus International LLC (“Targus”),
   3 Counterclaim Plaintiff Swissdigital USA Co., Ltd. (“Swissdigital”), alleges as
   4 follows:
   5
   6                                             I. THE PARTIES
   7                37.      Counterclaim Plaintiff Swissdigital USA Co., Ltd., Inc.is a corporation
   8 organized and existing under the laws of the State of Delaware, with its principal place
   9 of business at 11533 Slater Ave. Suite H, Fountain Valley, CA 92708.
  10                38.      Swissdigital is the exclusive licensee of U.S. Patent No. 10,574,071 (“the
  11 ‘071 Patent”), titled “Bag or luggage with USB charging connector,” with the
  12 exclusive right to sue in the United States for damages, including all past damages.
  13                39.      Swissdigital’s invention is a bag or luggage item that provides
  14 convenient charging for its user by providing a space for placing a power storage
  15 device inside the bag or luggage body, a power cable outlet on the outer surface of
  16 the bag or luggage body, and a USB extension cable that connects to the power storage
  17 device inside the bag. Swissdigital’s invention has been marked with U.S. Patent No.
  18 10,574,071.
  19                40.      On information and belief, Targus International LLC is a Delaware
  20 limited liability company, with its principal place of business at 1211 N. Miller Street,
  21 Anaheim, California 92806.
  22                41.      On information and belief, Targus is generally in the business of
  23 designing, manufacturing, distributing, selling, and offering for sale luggage products,
  24 including laptop bags and cases, travel briefcases, and backpacks.
  25                42.      Targus has directly infringed, contributorily infringed, and induced
  26 others to infringe at least claim 1 of the ‘071 Patent in the United States by offering
  27 for sale and selling luggage products, including but not limited to the 15.6” CityLite
  28 Pro Premium Convertible Backpack, model TSB939GL (the “CityLite Backpack”).

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   1                43.      On information and belief, Targus advertises, sells, and conducts
   2 business throughout the United States, including within the state of California and
   3 within this District. On information and belief, at all relevant times Targus was in the
   4 business of offering for sale and selling its luggage products in the United States.
   5                                            II. JURISDICTION
   6                44.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and
   7 1338(a) because these counterclaims arise under the Patent Laws of the United States,
   8 35 U.S.C. § 1 et seq.
   9                45.      Targus has consented to the personal jurisdiction of this Court at least by
  10 commencing its action for patent infringement in this District, as set forth in its
  11 Complaint.
  12                46.      Based solely on Targus’s filing of this action, venue is proper in this
  13 District pursuant to at least 28 U.S.C. § 1400.
  14
  15                                     III. FIRST CAUSE OF ACTION
  16                          INFRINGEMENT OF U.S. PATENT NO. 10,574,071
  17                47.      Pursuant to 35 U.S.C. § 271(a), Defendants have directly infringed
  18 (literally and/or under the doctrine of equivalents) at least claim 1 of the ‘071 Patent
  19 by offering for sale or use, and/or selling, distributing, promoting, or providing for
  20 use by others in the Central District of California and elsewhere in the United States,
  21 luggage products including but not limited to the CityLite Backpack that incorporate
  22 an integrated USB socket and include a place for placing a power storage device
  23 inside the bag and a power cable outlet on the outer surface of the bag.
  24                48.      The accused CityLite Backpack includes a USB extension cable having
  25 a male connector and a female connector. The male connector is inside the bag and
  26 is used to connect to the power storage device in the placing space, and the female
  27 connector is retained outside and adjacent to the power cable outlet. The operative
  28 end of the female connector does not need to be moved, and the bag does not need to

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   1 be opened, for a product to be charged.
   2                49.      The CityLite Backpack meets the preamble “a bag or luggage for
   3 convenient charging, comprising.” The CityLite Backpack is a bag for convenient
   4 charging, as it includes an “integrated USB socket.”
   5                50.      The CityLite Backpack meets the claim element “a bag or luggage body
   6 having a placing space for placing a power storage device inside the bag or luggage
   7 body and a power cable outlet on the outer surface of the bag or luggage body.” The
   8 CityLite Backpack includes a place for placing a power storage device inside the bag
   9 and a power cable outlet on the outer surface of the bag.
  10                51.      The CityLite Backpack meets the claim element “a USB extension cable
  11 having a male connector and a female connector having four sides and an operative
  12 end.” The CityLite Backpack includes a USB extension cable with male connector
  13 and a female connector having four sides and an operative end.
  14                52.      The CityLite Backpack meets the claim element “wherein the male
  15 connector of the USB extension cable is inside the bag or luggage body and is used
  16 to connect to the power storage device in the placing space.” The male connector of
  17 the USB extension cable is inside the CityLite Backpack and is used to connect to the
  18 power storage device in the placing space.
  19                53.      The CityLite Backpack meets the claim element “wherein the female
  20 connector is retained outside and adjacent to the power cable outlet with one side of
  21 the four sides of the female connector in communication with the bag or luggage body,
  22 and the other three sides of the female connector are covered by a water proof sheath
  23 that protects the female connector and provides it in a flat position and wherein the
  24 sheath is above and covers the power cable outlet.” The female connector of the
  25 CityLite Backpack is retained outside and adjacent to the power cable outlet. Three
  26 sides of the female connector are covered by a water proof sheath and provides it in a
  27 flat position and is above and covers the power cable outlet. The remaining side is in
  28 communication with the bag or luggage body.

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    1                54.      The CityLite Backpack meets the claim element “wherein the sheath
    2 does not cover the operative end of the female connector which is exposed and fixedly
    3 attached above the exterior of the bag such that the operative end of the female
    4 connector does not need to be moved and the bag or luggage body does not need to
    5 be opened to accept a charging interface of a product to be charged.” The operative
    6 end of the CityLite Backpack’s female connector is exposed and not covered by the
    7 sheath. The operative end of the female connector is fixedly attached to the bag, and
    8 as it is on the exterior of the bag, the bag does not need to be opened to accept a
    9 charging interface of a product to be charged.
   10                55.      In violation of 35 U.S.C. § 271(b), Targus has infringed (literally and/or
   11 under the doctrine of equivalents) at least claim 1 of the ‘071 Patent indirectly by
   12 inducing the infringement of the ‘071 Patent claim by third parties, including its
   13 customers. Targus has induced, caused, urged, encouraged, aided, and abetted its
   14 customers to infringe at least claim 1 of the ‘071 Patent.
   15                56.      Targus has done so by affirmative acts, including but not limited to
   16 selling infringing products, marketing the infringing capabilities of such products, and
   17 providing instructions, technical support, and other encouragement for the use of such
   18 products.
   19                57.      Targus knowingly and specifically intended third parties to infringe at
   20 least claim 1 of the ‘071 Patent. On information and belief, Targus knew of the ‘071
   21 Patent, performed affirmative acts that constitute induced infringement, and knew or
   22 should have known that those acts would induce actual infringement of one or more
   23 of the ‘071 Patent’s claims by third parties.
   24                58.      On information and belief, Targus had knowledge of the ‘071 Patent
   25 since at least as early as February of 2020 when the ‘071 Patent issued.
   26                59.      On information and belief, Targus, while fully aware that at least its
   27 CityLite Backpack infringed one or more of the claims of the ‘071 Patent, offered for
   28 sale, sold, and induced others to buy, use, and sell the infringing products.

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    1                60.      In violation of 35 U.S.C. § 271(c), Targus has infringed (literally and/or
    2 under the doctrine of equivalents), at least claim 1 of the ‘071 Patent indirectly by
    3 contributing to the infringement of at least claim 1 of the ‘071 Patent.
    4                61.      Targus has contributed to the infringement of at least claim 1 of the ‘071
    5 Patent because it knew that the CityLite Backpack it offered for sale was infringing
    6 and not suitable for substantial non-infringing use.
    7                62.      As a result of Targus’s infringement of the ‘071 Patent, Swissdigital has
    8 suffered monetary losses for which he is entitled to an award of damages that is
    9 adequate to compensate Swissdigital for the infringement under 35 U.S.C. § 284, in
   10 no event less than a reasonable royalty.
   11                63.      On information and belief, Targus’s infringement of the ‘071 Patent has
   12 been deliberate, willful, and with full knowledge, or willful blindness to knowledge,
   13 of the ‘071 Patent.
   14                64.      Swissdigital has suffered damages in an amount to be determined at trial
   15 by reason of Targus’s willful infringement of the ‘071 Patent.
   16
   17                                          PRAYER FOR RELIEF
   18
        Wherefore, Swissdigital prays for relief, as follows:
   19
                     A.       That Swissdigital is the exclusive licensee of all rights and interest in and
   20
        to United States Patent No. 10,574,071, together with all rights to sue and to recover
   21
        under such patent for past infringement thereof;
   22
                     B.       That United States Patent No. 10,574,071 is valid and enforceable in law
   23
        and that Targus has infringed said patent;
   24
                     C.       Awarding to Swissdigital its damages caused by Targus’s infringement
   25
        of United States Patent No. 10,574,071;
   26
                     D.       That Targus’s infringement has been willful and said damages be trebled
   27
        pursuant to 35 U.S.C. § 284;
   28

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    1                E.      That this is an exceptional case and awarding to Swissdigital its costs,
    2 expenses, and reasonable attorneys’ fees pursuant to 35 U.S.C. § 285; and
    3                F.      Awarding to Swissdigital such other and further relief as the Court may
    4 deem just and proper.
    5
    6                                     DEMAND FOR JURY TRIAL
    7
                     In accordance with Fed. R. Civ. P. 38(b), Swissdigital hereby demands a trial
    8
        by jury for all issues triable by jury.
    9
   10                                                   Respectfully submitted,
   11 DATED: June 15 2020                            JEFFER MANGELS BUTLER &
                                                     MITCHELL LLP
   12
                                                     STANLEY M. GIBSON
   13                                                JESSICA P. G. NEWMAN
   14
   15
                                                     By:         /s/ Jessica P.G. Newman
   16
                                                                JESSICA P. G. NEWMAN
   17
   18                                                Dariush Keyhani (pro hac vice)
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   20
   21                                                Attorneys for Defendant and Counterclaimaint
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